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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-00852-PAB-KLM

  DOUGLAS J. SIMON,

         Plaintiff,

  v.

  DIRECTV, INC.,

       Defendant.
  _____________________________________________________________________

          RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

         This matter is before the Court on Defendant DIRECTV, Inc.’s Motion for

  Summary Judgment and Supporting Memorandum of Points and Authorities [Docket

  No. 32; Filed January 31, 2010] (the “Motion”). Plaintiff has not filed a response to the

  Motion. The Court has reviewed the Motion, the entire case file, and the relevant case law.

  For the reasons stated below, I RECOMMEND that the Motion be GRANTED.

                                         Background

         Plaintiff is a telecommunications engineer. Notice [#1] Ex. A (“First Amended

  Complaint”) at ¶ 9. Plaintiff alleges that on September 24, 2007, he applied to be a

  contractor with DIRECTV to provide high definition engineering services. ¶ 13. As part of

  the contracting process, Plaintiff signed a form authorizing Defendant to conduct a criminal

  background investigation of him. Id. ¶¶ 17-19. Defendant then requested a background




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  report on Plaintiff from First Advantage Corporation, a consumer reporting agency.1 First

  Advantage’s report indicated that Plaintiff had been found guilty of four criminal offenses

  from 1995 to 1998. Notice [#1] Ex. G at ¶ 11. On October 18, 2007, Defendant informed

  Plaintiff that he would not be hired. Id. Ex. A at ¶ 49.

         Plaintiff brings five claims for relief. He alleges that Defendant wrongfully relied on

  his criminal conduct that was more than seven years old, in violation of the Colorado

  Consumer Credit Reporting Act (“CCCRA”), Colo. Rev. Stat. § 12-14.3-101, et seq., and

  the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq. Plaintiff also asserts that

  Defendant violated the CCCRA and FCRA by disclosing his criminal background to third

  parties. Finally, Plaintiff alleges a promissory estoppel claim. He asserts that Defendant

  promised that he had been hired and gave him a specific starting date. Relying on these

  representations, Plaintiff resigned his employment.

                                      Standard of Review

         The purpose of a summary judgment motion is to assess whether trial is necessary.

  Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Fed. R. Civ. P. 56(c) provides that

  summary judgment shall be granted if “the pleadings, the discovery and disclosure

  materials on file, and any affidavits show that there is no genuine issue as to any material

  fact and that the movant is entitled to judgment as a matter of law.” An issue is genuine

  if the evidence is such that a reasonable jury could return a verdict for the nonmovant.

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is material if it might

  affect the outcome of the suit pursuant to the governing substantive law. Id.


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          First Advantage was originally a Defendant in this case but the claims against it were
  dismissed on August 27, 2009 due to Plaintiff’s failure to prosecute his claims. [#27].

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           The movant must show the absence of a genuine issue of material fact. Adler v.

  Wal-Mart Stores, Inc., 144 F.3d 664, 670-71 (10th Cir. 1998) (citing Celotex, 477 U.S. at

  323). When the movant does not bear the ultimate burden of persuasion at trial, the

  “movant may make its prima facie demonstration [of the absence of a genuine issue of

  material fact] simply by pointing out to the [C]ourt a lack of evidence for the nonmovant on

  an essential element of the nonmovant’s claim.” Id. at 671.

           After the movant has met his initial burden, the burden shifts to the nonmovant to

  put forth sufficient evidence for each essential element of the claim such that a reasonable

  jury could find in his favor. See Anderson, 477 U.S. at 248; Simms v. Okla. ex rel. Dep’t

  of Mental Health & Substance Abuse Servs., 165 F.3d 1321, 1326 (10th Cir. 1999). The

  nonmovant must go beyond the allegations and denials of his pleadings and provide

  admissible evidence, which the Court views in the light most favorable to the nonmovant.

  Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); Panis v. Mission Hills Bank, N.A.,

  60 F.3d 1486, 1490 (10th Cir. 1995) (citing Celotex, 477 U.S. at 324). Conclusory

  statements based merely on conjecture, speculation, or subjective belief are not competent

  summary judgment evidence. Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th Cir.

  2004).

           Finally, the Court must construe the filings of a pro se litigant liberally. Haines v.

  Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.

  1991). However, the Court should not be the pro se litigant’s advocate, nor should the

  Court “supply additional factual allegations to round out [the pro se litigant’s] complaint or

  construct a legal theory on [his] behalf.” Whitney v. New Mexico, 113 F.3d 1170, 1173-74



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  (10th Cir. 1997) (citing Hall, 935 F.2d at 1110). In addition, pro se litigants must follow the

  same procedural rules that govern other litigants. Nielson v. Price, 17 F.3d 1276, 1277

  (10th Cir. 1994).

                          Statement of Undisputed Material Facts

         As noted above, Plaintiff has not responded to the Defendant’s summary judgment

  motion. Nevertheless, the Court may not grant a summary judgment motion based solely

  on the nonmovant’s failure to respond to the motion. Reed v. Bennett, 313 F3d 1190, 1194

  (10th Cir. 2002). The Court must engage in the usual Rule 56 analysis, i.e. consider

  whether the moving party has met its burden. Id. However, the Court must “accept as true

  all material facts asserted and properly supported in the summary judgment motion.” Id. at

  1195; see also Fed. R. Civ. P. 56(e)(2) (if the opposing party does not respond, summary

  judgment should be entered if appropriate).

         Defendant has asserted the following facts in its motion, which I accept as true:

  Plaintiff applied to become a DIRECTV vendor on or around September 26, 2007. Motion

  [#32], Ex. A (Plaintiff’s Deposition) at 35:13-15 and 53:15-56:10. The contract for which

  Plaintiff applied involved “setting up equipment, testing equipment, [and] making sure that

  the high definition signal [met] standards set by DIRECTV before [the] launch” of

  DIRECTV’s high definition program. Id. at 36:6-16. As part of the application process,

  Plaintiff authorized DIRECTV to conduct a background check, which included, among other

  things, obtaining Plaintiff’s “consumer credit reports [and] criminal records . . ..” Id. Ex. C

  (Background Check Release Form). Moreover, as Plaintiff knew, DIRECTV had to issue

  a purchase order before he could become a DIRECTV vendor. Id. Ex. A at 42:16-22.



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         Plaintiff spoke with Maelen Lee, the DIRECTV Director of Engineering, who

  managed the project for which Plaintiff applied, regarding the prerequisites to becoming a

  DIRECTV vendor. Id. Ex. A at 41:12-19, 41:23-42:1; Ex. D (Affidavit of Maelen Lee) at ¶¶

  3-7. During that conversation with Ms. Lee, Plaintiff learned that he could not be a

  DIRECTV vendor until the background check was completed and the purchase order was

  in place. Id. Ex. A at 41:23-42:2, 42:16-227.

         DIRECTV’s security personnel requested a background report regarding Plaintiff

  from First Advantage Corporation, a consumer reporting agency. Id. Ex. F (Affidavit of Trey

  Castleberry) at ¶ 10. On or after October 13, 2007, DIRECTV’s security personnel received

  Plaintiff’s criminal background report, which indicated Plaintiff was found guilty of the

  following criminal offenses: (1) harassment – strikes / shoves / touches on September 5,

  1995; (2) violation of a restraining order on September 5, 1995; (3) sexual assault – third

  degree on February 21, 1996; and (4) failure to register as a sexual offender on September

  15, 1998. Id. Ex. G. (Statewide Criminal Search Report). Before Plaintiff was informed of

  the results of his background check, he resigned his employment with IBAHN General

  Holdings, Inc. (“IBAHN”). Id. at 20:1-4, 20:10-13, 49:1-4, 49:22-50:1, 50:23-51:11, 59:11-

  15. On October 18, 2007, following completion of the background investigation, DIRECTV

  notified Plaintiff that it was denying his application to be a DIRECTV vendor. Id. Ex. A at

  52:23-53:2; Ex. D at ¶ 15.

                                     Federal Preemption

         Plaintiff alleges that Defendant violated the FCRA and CCCRA by relying on

  prohibited information, i.e. his criminal history beyond seven years. He also alleges that

  Defendant violated those two statutes by disclosing his criminal background to third parties.

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  Defendant asserts that the CCCRA claims are preempted by FCRA.

           Both CCCRA and FCRA are consumer credit reporting statutes with the same

  purpose. CCCRA’s intent is “to ensure that consumer reporting agencies exercise their

  responsibilities with fairness, impartiality and respect for the consumer’s rights.” Colo. Rev.

  Stat. § 12-14.3-101.5. The FCRA was enacted “to ensure that consumer reporting agencies

  exercise their grave responsibilities with fairness, impartiality, and a respect for the

  consumer’s right to privacy.” 15 U.S.C. § 1681(a)(4). Federal law may preempt state law

  where (1) Congress expressly indicates that the federal law is meant to preempt state law;

  (2) where state and federal law conflict; and (3) where federal law occupies the entire

  legislative domain on an issue. Davenport v. Farmers Ins. Grp., 378 F.3d 839, 842 (8th Cir.

  2004).

           The FCRA has an express provision concerning preemption, which provides, in

  relevant part, that “[n]o requirement or prohibition may be imposed under the laws of any

  State with respect to any subject matter regulated under ... section 1681c of [FCRA],

  relating to information contained in consumer reports, except this subparagraph shall not

  apply to any State law in effect on September 30, 1996.” 15 U.S.C. §1681t(b)(1)(E). Thus,

  FCRA preempts state consumer reporting statutes when (1) the subject matter of the state

  statute concerns matters regulated under 15 U.S.C. § 1681c; and (2) the state law took

  effect after September 30, 1996. Id.

           In his Complaint, Plaintiff alleges that Defendant violated the provision of the

  CCCRA that prohibits consumer reporting agencies from disclosing “[r]ecords of arrest,

  indictment, or conviction of a crime that, from the date of the disposition, release or parole

  predate the report by more than seven years.” Colo. Rev. Stat. § 12-14.3-105.3(1)(e). This

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  provision concerns the disclosure of information that is also regulated by FCRA. The

  comparable FCRA provision prohibits the disclosure of “[c]ivil suits, civil judgments, and

  records of arrest that, from date of entry, antedate the report by more than seven years or

  until the governing statute of limitations has expired, whichever is the longer period.” 15

  U.S.C. § 1681c(a)(2).    In addition, “records of convictions of crime which antedate the

  report by more than seven years” can be disclosed under FCRA. 15 U.S.C. § 1681c(a)(5)

  (emphasis supplied).

         The CCCRA and FCRA provisions at issue concern the same subject matter, i.e. the

  type of information that can be legally disclosed in consumer reports. Both address the

  limits on the disclosure of criminal arrests and convictions in consumer reports. Thus,

  FCRA meets the first requirement for a finding of preemption, which is that the subject

  matter of the CCCRA concerns matters regulated under the federal statute.

         Defendants must also show that the applicable CCCRA provision took effect after

  September 30, 1996. According to the statutory provision involved here, Colo. Rev. Stat.

  § 12-14.3-105.3 became effective in 2002, well after FCRA’s cut-off date. Therefore

  Plaintiff’s claims pursuant to CCCRA are preempted by federal law.

                                      FCRA Violations

         Plaintiff alleges that Defendant wrongfully relied on his criminal history in denying

  him a position as a vendor. He asserts that Defendant was not permitted to rely on that

  information because the criminal convictions were more than seven years old. As noted

  above, his claim is without merit. The FCRA permits disclosure of “records of convictions

  of crimes which antedate[ ] the report by more than seven years.” 15 U.S.C. § 1681c(a)(5).

  First Advantage provided DIRECTV a report listing Plaintiff’s four criminal convictions.

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  Defendant could properly consider this information even though it was more than seven

  years old. It was not unlawful for Defendant to consider the report in determining whether

  to hire Plaintiff.

          Plaintiff also alleges that Defendant violated FCRA by disclosing his background

  report to third parties. As an initial matter, Defendant claims that it has not revealed the

  report to a third party and Plaintiff was unable to identify a third party during his deposition.

  In addition, Defendant asserts that it is not subject to FCRA’s restrictions on disclosing

  background reports because it is not a “consumer reporting agency.”

          FCRA’s provisions only apply to a consumer reporting agency. Magnum v. Action

  Collection Service. Inc., 575 F.3d 935, 942 (9th Cir. 2009); Dumas v. City of Chicago, No.

  00-1389, 2000 WL 1597787, at *1 (7th Cir. Oct. 23, 2000). To that end, consumer reporting

  agencies must adopt reasonable procedures to protect the confidentiality of consumer

  credit information. Peart v. Shippie, 345 Fed. Appx. 384, 386 (11th Cir. 2009); Heath v.

  Credit Bureau of Sheridan, Inc., 618 F.2d 693, 695 (10th Cir. 1980). FCRA defines a

  “consumer reporting agency” as “any person which, for monetary fees, dues or on a

  cooperative nonprofit basis, regularly engages in whole or in part in the practice of

  assembling or evaluating consumer credit information or other information on consumers

  for the purpose of furnishing consumer reports to third parties ....” 15 U.S.C. § 1681a(f).

  Defendants have submitted an affidavit from its Manager of Corporate Security which

  states that “DIRECTV does not assemble or evaluate consumer credit information or other

  information for the purpose of furnishing consumer reports.” Motion [#32] Ex. F at 2.

  Furthermore, in this case, because DIRECTV is not a consumer reporting agency, it

  requested Plaintiff’s consumer report from First Advantage, which is a consumer reporting

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  agency. Id. Given these facts, Defendant is not a consumer reporting agency subject to

  FCRA.

                                      Promissory Estoppel

          Plaintiff asserts that Defendant should be estopped from challenging his claims

  because Defendants promised that he would be employed as a vendor to provide short-

  term engineering support. Notice [#1], Ex. A at 11. The elements of a promissory estoppel

  claim are (1) the promisor made a promise to the promisee; (2) the promisor should

  reasonably have expected that the promise would induce action or forbearance by the

  promisee; (3) the promisee in fact reasonably relied on the promise to the promisee’s

  detriment; and (4) the promise must be enforced to prevent injustice. Marquardt v. Perry,

  200 P. 3d 1126, 1129 (Colo. App. 2008).

          Plaintiff alleges that on October 8, 2007, Ms. Lee, DIRECTV’s Director of

  Engineering, told him that a purchase order was in place and his starting date would be

  October 22, 2007. Notice [#1] Ex. at 11. Based on this statement, Plaintiff resigned his

  employment at a company known as IBAHN. Id. Plaintiff asserts that he would not have

  been unemployed but for Defendant’s conduct. Id.

          Ms. Lee’s affidavit contradicts Plaintiff. During her first conversation with Plaintiff,

  she informed him that he could not begin to work for DIRECTV until the company’s

  procurement department issued a purchase order. Motion [#32] Ex. D at 2. A purchase

  order authorizes funds for DIRECTV to pay individuals such as Plaintiff. Id. DIRECTV never

  issued a purchase order for Plaintiff’s work as a vendor. Id. However, on October 16,

  2007, Ms. Lee had informed Plaintiff by email that an October 22, 2007 “start date looks

  promising” and “the buyer should be able to place the [purchase order] this week.” Id. Ex.

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   E.

          Plaintiff’s promissory estoppel claim is undermined by his own testimony at his

   deposition. Plaintiff conceded that the alleged promise made by DIRECTV was subject to

   two conditions. First, Plaintiff acknowledged that DIRECTV had to approve a purchase

   order. Id. Ex. A at 48:4-12. In addition, Plaintiff had to pass a background check. Id. at

   42:16-21. Plaintiff admitted that as of October 8, 2007, he had not been notified of the

   results of his background check. Id. at 49:1-6, 22-50. On October 8, 2007, despite not

   knowing the results of the background check or confirming that a purchase order was in

   place, Plaintiff resigned his position at IBAHN.

          Viewing the facts presented by Defendant to be true, I conclude that promissory

   estoppel is not a valid claim. There is no genuine issue of material fact regarding whether

   Plaintiff was unconditionally promised the vendor position. Based on the communications

   with Plaintiff, Defendant could not have reasonably suspected that he would resign his

   employment. Because Plaintiff has not shown that he was promised the job, the Court

   necessarily cannot find that he reasonably relied on a promise to his detriment. For these

   reasons, I RECOMMEND that Plaintiff’s promissory estoppel claim be DENIED.

                                          Conclusion

          Based on the foregoing, there is no genuine issue of material fact and Defendant is

   entitled to judgment as a matter of law. Therefore,

          I respectfully RECOMMEND that Defendant DIRECTV’s Motion for Summary

   Judgment be GRANTED and the case DISMISSED WITH PREJUDICE.

          IT IS FURTHER ORDERED that pursuant to Fed. R. Civ. P. 72, the parties shall

   have fourteen (14) days after service of this Recommendation to serve and file any written
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   objections in order to obtain reconsideration by the District Judge to whom this case is

   assigned. A party’s failure to serve and file specific, written objections waives de novo

   review of the Recommendation by the district judge. Fed. R. Civ. P. 72(b); Thomas v. Arn,

   474 U.S. 140, 147–48 (1985), and also waives appellate review of both factual and legal

   questions, Makin v. Colo. Dep’t of Corr., 183 F.3d 1205, 1210 (10th Cir. 1999); Talley v.

   Hesse, 91 F.3d 1411, 1412–13 (10th Cir. 1996). A party’s objections to this

   Recommendation must be both timely and specific to preserve an issue for de novo review

   by the district court or for appellate review. United States v. One Parcel of Real Prop., 73

   F.3d 1057, 1060 (10th Cir. 1996).



   Dated: March 19, 2010



                                                    BY THE COURT:


                                                     s/ Kristen L. Mix
                                                    Kristen L. Mix
                                                    United States Magistrate Judge




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